     Case 2:19-cv-00651-MHT-CSC Document 27 Filed 04/29/20 Page 1 of 1




             IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

BERNETTA LASHAY WILLIS,                     )
                                            )
       Petitioner,                          )
                                            )
       v.                                   )     Civil Action No.
                                            )     2:19cv651-MHT
UNITED STATES OF AMERICA,                   )
                                            )
       Respondent.                          )

                                     ORDER

       The Clerk is DIRECTED to:

       (1) STRIKE Petitioner’s self-styled “Motion to Amend – Exhibit,” currently

docketed as Doc. # 23; and

       (2) DOCKET this same motion (with attachments) as a motion for

compassionate release under 18 U.S.C. § 3582(c)(1)(A) in Criminal Case 2:06cr71-

MHT.

       Done this 29th day of April, 2020.



                            /s/ Charles S. Coody
                          CHARLES S. COODY
                          UNITED STATES MAGISTRATE JUDGE
